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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION

GILBERT ROSALES, §
Plaintiff, §
§

v. § EP-lS-CV-SGl-PRM
§
COCA-COLA SOUTHWEST §
BEVERAGES LLC, §
Defendant. §

MEMORANDUM OPINION AND
ORDER SETTING JURY TRIAL REGARDING ARBITRABILITY

On this day, the Court considered Defendant Coca-Cola Southwest
Beverages LLC’S [hereinafter “Defendant;’] “Motion to DiSmiSS and
Compel Arbitration” (ECF No. 10) [hereinafter “Motion to Compel”],
filed on January 24, 2019; Plaintiff Gilbert RosaleS’S [hereinafter
“Plaintiff”] “Response to Defendant’S Motion to Disrniss and Compel
Arbitration, With Objections to Defendant’S Proffers of Evidence” (ECF
. No. 14) [hereinafter “Response”], filed on February 7, 2019; and
Defendant’e “Reply in Support of its Motion to Dismiss and Compel
Arbitration” (ECF No. 17) [hereinafter “Reply”], filed on February 14,

2019, in the above-captioned cause. After due consideration, the Court

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is of the opinion that a jury trial should be set to determine Whether the
parties agreed to arbitrate this dispute, for the reasons that folloW.
I. FACTUAL AND PROCEDURAL BACKGROUND

This case arises out of an employment dispute. Plaintiff Was
employed by Defendant as a maintenance mechanic. Am. Compl. 2,
Jan. 3, 2019, ECF No. 7. Plaintiff is over fifty-five years old and Was
born With the disability of having an extra vertebra. Id. at 2-3.
Plaintiff alleges that managers and employees employed by Defendant
harassed and discriminated against him on the basis of age. Id. at 3.
Additionally, Plaintiff asserts that he faced discrimination and
retaliation because of his disability. Id. at 4~5. Plaintiff filed suit in
state court on October 8, 2018, alleging disability and age
discrimination and retaliation in violation of state and federal laW. Not.
of Removal 1-2, Nov. 20, 2018, ECF No. 1. On November 20, 2018,
Defendant removed the case to federal court. Id.

The instant Motion to Compel Was filed on January 24, 2019. In
its l\/lotion to Compel, Defendant alleges that a valid and enforceable
arbitration agreement exists and requires that Plaintiff s claims be

submitted to arbitration. lVlot. 1. Defendant provides its Dispute

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Resolution Agreement, Which expressly applies to disputes arising
under the “Americans With Disabilities Act, Age Discrimination in
Employment Act, . . . and state statutes, if any, addressing the same or
similar subject matters.” Id. Ex. A (Dispute Resolution Agreement), § 1.
Additionally, Defendant provides an affidavit of Lisa Marie Cano,
Who is a “Human Resources Business Partner and [] custodian of
records.” Id. Ex. 1. In the affidavit, Ms. Cano testifies that, during the
onboarding process, Plaintiff Was provided an opportunity to review the
Dispute Resolution Agreement and either electronically sign or opt-out
of the agreement Within 30 days. Id. Further, l\/ls. Cano testifies that
Plaintiff accessed the Dispute Resolution Agreement electronically as
part of an online module completed at Defendant’s facility. Id. Ms.
Cano asserts that Defendant entered his unique employee identification
number to access the module. Id. According to l\/Is. Cano, after
completing the module, Plaintiff had the “option to accept” and then
“executed the Agreement.” Id. Defendant also provides an electronic
printout that contains Plaintiff s name and employee identification
number and purportedly reflects that Plaintiff completed the computer

module containing the company’s Dispute Resolution Agreement on

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October 24, 2017. Id. Ex. C. According to Ms. Cano, the record was
created in the ordinary course of business. Id. Ex. 1.

Plaintiff does not dispute that his claims are in the scope of the
alleged agreement See Resp. However, Plaintiff avers that Defendant
has failed to establish that a valid, electronically signed arbitration
agreement exists. Id. at 3. Plaintiff denies viewing or signing any
physical or electronic Dispute Resolution Agreement. Id. at 4, Ex. C.
Additionally, Plaintiff asserts that Defendant’s proffered evidence
demonstrating that Plaintiff viewed and signed the arbitration
agreement should not be admissible because it contains hearsay and
violates the best evidence rule. Id. at 5-6.

In addition to challenging the arbitration agreement’s validity,
Plaintiff raises procedural challenges to Defendant’s Motion. Plaintiff
contends that, even if this case must be arbitrated, the proper
procedure for enforcing an arbitration agreement is a stay-rather than
dismissal-of the action. Id. at 11. Further, Plaintiff asserts that
Defendant has waived the right to arbitration by removing the case to

federal court. Id. at 12.

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II. LEGAL STANDARD

The Federal Arbitration Act (“FAA”) § 2 provides that:

A written provision in any maritime transaction or a contract

evidencing a transaction involving commerce to settle by

arbitration a controversy thereafter arising out of such
contract or transaction . . . shall be valid, irrevocable, and
enforceable, save upon such grounds as exist at law or in
equity for the revocation of any contract.
9 U.S.C. § 2. This provision “reflect[s] both a ‘liberal policy favoring
arbitration’ . . . and the ‘f'undamental principle that arbitration is a
matter of contract.”’ AT&TMobility LLC u. Con,cepcion,, 563 U.S. 333,
339 (2011) (quoting first Moses H. Cone Mem’l Hosp. u. Mercury Constr.
Corp., 460 U.S. 1, 24 (1983), and then Rent-A-Ctr., W., Inc. v. Jackson,
561 U.S. 63, 67 (2010)).

When considering a motion to compel arbitration pursuant to the
FAA, courts employ a two-step analysis “First, a court must ‘determine
Whether the parties agreed to arbitrate the dispute in question.”’ Tittle
v. Enron Corp., 463 F.3d 410, 418 (5th Cir. 2006) (quoting Webb U.
Investacorp., Inc., 89 F.3d 252, 258 (5th Cir. 1996)). “Second, a court
must determine ‘whether legal constraints external to the parties’

agreement foreclosed the arbitration of those claims.”’ Fleetwood

Enters., Inc. u. Gaskamp, 280 F.Sd 1069, 1073 (5th Cir. 2002) (quoting

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Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 628
(1985)).

The first step of the analysis_Whether the parties agreed to
arbitrate the dispute in question-consists of two distinct prongs:
“(1) Whether there is a valid agreement to arbitrate between the parties;
and (2) whether the dispute in question falls Within the scope of that
arbitration agreement.”1 Tittle, 463 F.Bd at 418-19 (quoting Webb, 89
F.3d at 258). “[I]n determining whether the parties agreed to arbitrate
a certain matter, courts apply the contract law of the particular state
that governs the agreement.” Washington Mut. Fin. Grp., LLC u.
Bailey, 364 F.3d 260, 264 (5th Cir. 2004).2
III. ANALYSIS

A. Plaintiff’s Evidentiary Challenges

Plaintiff offers two challenges regarding the admissibility of

Defendant’s record reflecting Plaintiffs purported electronic

 

1 Because Plaintiff does not challenge that his claims are within the
scope of the arbitration agreement, this Opinion focuses on whether a
valid, enforceable arbitration agreement exists.

2 As both parties rely on Texas law in their briefing, the Court will
apply Texas law. Zamora v. Swift Transp. Corp., 547 F. Supp. 2d 699,
702 (W.D. Tex. 2008), aff’d, 319 F. App’X 333 (5th Cir. 2009).

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acknowledgment of the arbitration agreement:3 (i) that Defendant’s
record is hearsay and fails to satisfy the business records exception and
(ii) that Defendant’s record fails to satisfy the best evidence rule.
Ultimately, the Court concludes that Defendant’s record depicting
Plaintiffs acknowledgment of the arbitration agreement is admissible

i. Defendant’s record satisfies the business records
exception to the hearsay rule.

“Hearsay” is a statement that “a party offers in evidence to prove
the truth of the matter asserted in the statement.” Fed. R. Evid.
801(0)(2). Hearsay is not admissible unless an exception to the hearsay
rule applies. See Fed. R. Evid. 802.

Defendant avers that the exhibits attached to the affidavit are
“not hearsay” because they are instead “communications relevant to the
making of a contract.” Resp. 6. Signed contracts may be admissible as
non-hearsay to show that the document exists but not for the truth of
the matter asserted therein. See Kepner-Tregoe, Inc. U. Leadership

Softwczre, Inc., 12 F.3d 527, 540 (5th Cir. 1994) (“Signed instruments

 

3 Because Plaintiff s evidentiary challenges might affect Whether the
Court may rely on Defendant’s proffers of evidence, the Court first
considers Plaintiff s evidentiary challenges before considering Whether
Defendant has established that a valid arbitration agreement exists.

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such as wills, contracts, and promissory notes are writings that have
independent legal significance and are not hearsay.”).

Here, the printout does not appear to have independent legal
significance, and it is not a signed instrument Instead, Defendant
offers the document to show the truth of the matter that it asserts.
Specifically, in part, the printout contains the following information:
“SB011724 Gilberto Rosales Dispute Resolution Agreement 10/24/2017
21:22.” Defendant provides the printout in order to demonstrate that
the information it contains is true_that is, that a person using
Plaintiff s unique employee number, which is associated with Plaintiff s
name, accessed the Dispute Resolution Agreement module and then
completed the module on October 24, 2017. Since the document is
offered to prove its truth, the Court is of the opinion that Defendant’s
record is hearsay.

Although the record is hearsay, the Court is of the opinion that
the printout should nonetheless be admissible for purposes of the
Motion to Compel because the document satisfies the business records

exception. An exception to the hearsay rule exists for “records of a

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regularly conducted activity”_commonly referred to as the “business
records exception”-if:

(A) the record was made at or near the time by_or from
information transmitted by-someone with knowledge;

(B) the record Was kept in the course of a regularly
conducted activity of a business, organization, occupation, or
calling, whether or not for profit; '

(C) making the record was a regular practice of that
activity; '

(D) all these conditions are shown by the testimony of
the custodian or another qualified Witness, or by a
certification that complies with Rule 902(11) or (12) or with a
statute permitting certification; and

(E) the opponent does not show that the source of
information or the method or circumstances of preparation
indicate a lack of trustworthiness

Fed. R. Evid. 803(6).

“The exception requires that either the custodian of the business
records or ‘other qualified witness’ lay a foundation before the records
are admitted.” Uniteolv States v. Brown,, 553 F.3d 768, 792 (5th Cir.
2008). The Fifth Circuit has determined that “[t]here is no requirement
that the witness Who lays the foundation be the author of the record or
be able to personally attest to its accuracy.” Id. (quoting United States
v. Duncan, 919 F.2d 981, 986 (5th Cir. 1990)). Rather “[a] qualified
witness is one Who can explain the record keeping system of the

organization and vouch that the requirements of Rule 803(6) are met.”

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Id. (citing United States v. Iredia, 866 F.2d 114, 120 (5th Cir. 1989)).
“Whether evidence is admissible under Rule 803(6) is ‘chiefly a matter
of trustworthiness.”’ United States v. Wells, 262 F.3d 455, 460 (5th Cir.
2001) (quoting Mississippi River Grain Elevator, Inc. U. Bartlett & Co.,
659 F.2d 1314, 1319 (5th Cir. 1981)).

In this case, the custodian of records explained that the record
was made “by entering [Plaintiff’s] unique employee number . . . [at] a
computer kiosk.” Mot. Ex. 1. Based on this testimony, the custodian of
records has laid a foundation that the Dispute Resolution Agreement
was acknowledged and recorded by a person using Plaintiff s unique
employee number.

Plaintiff challenges whether Defendant has properly met the
requirements for a business record. According to Plaintiff, Defendant
“nowhere alleges ‘the record Was made at or near the time by-or from
information transmitted by-someone with knowledge’, and thus said
document cannot be a record of a regularly conducted activity.” Resp. 5
(emphasis omitted).

However, Defendant argues that the affidavit is sufficient because

evidence in support of a motion to compel arbitration is held to a more

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lenient standard than evidence used at trial. Resp. 7. Specifically,
Defendant relies on Robertson.' Id. There, the court noted that “[t]o
determine if evidence in support of a motion to compel arbitration is
admissible, courts apply the same standard as that applied to a motion
for summary judgment.” Robertson u. Fiestcz Rest. Grp., Inc., No. 3:17-
CV-00384, 2018 WL 3130677, at *3 (S.D. Tex. June 8, 2018) (citing
Domain Vault LLC v. Rightside Group Ltd., 3:17-CV_0789-B, 2018 WL
638013, at *3 (N.D. Tex. Jan. 30, 2018)), report and recommendation
adopted, No. 3:17-CV-00384, 2018 WL 3121877 (S.D. Tex. June 26,
2018). Accordingly, like in a motion for summary judgment, evidence
attached to a motion to compel “is not required to be in a format that
Would be admissible at trial, but the party offering the |] evidence must
be able to prove the underlying facts at trial with admissible evidence.”
Id. Thus, the Robertson court applied the “more lenient” standard and
determined that a declaration similar to the affidavit submitted in this
case was admissible for purposes of the motion to compel arbitration.
Robertson, 2018 WL 3130677, at *3-4.

Here, the Court finds the reasoning in Robertson to be persuasive

For the purposes of the instant Motion to Compel, Ms. Cano’s affidavit

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is sufficient to show that she could competently establish that the
record is admissible at trial. The affidavit depicts that Ms. Cano is
knowledgeable about how the record was made, as she describes the
method by which the information was recorded and also testifies that
she reviewed Plaintiff s personnel records. Mot. Ex. 1. Because
evidence in support of a motion to compel may be subject to a more
lenient standard than evidence offered at trial, the Court concludes that
a sufficient foundation has been laid for purposes of Defendant’s l\/lotion
to Compel. Accordingly, the Court will consider Defendant’s proffered
evidence in support of its Motion to Compel.

ii. The best evidence rule does not preclude admission of
Defendant’s record because Defendant’s printout

gualifies as an “original.”

Federal Rule of Evidence 1002_known as the “best evidence
rule”--provides that “[a]n original Writing, recording, or photograph is
required in order to prove its content.” “For electronically stored
information, ‘original’ means any printout_or other output readable by
sight_if it accurately reflects the information.” Fed. R. Evid. 1001.

Plaintiff asserts that Defendant’s record depicting Plaintiff s

acknowledgment of receipt and notice of the arbitration agreement

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“does not meet the requirements for admissibility under the Best
Evidence Rule because the best evidence would be an actual record of
the allegedly electronically signed arbitration agreement itself.” Mot. 6.
However, Plaintiff s contention fails to account for the definition of an
“original” printout of electronically stored information provided by Rule
1001. Here, Defendant produced a PDF printout of electronically stored
information that is an output readable by sight. Thus, the proffered
evidence is an “original” for purposes of the best evidence rule.
Accordingly, Defendant’s record depicting Plaintiff s acknowledgment
and notice of the arbitration agreement is not barred by the rule.

B. The Validity of the Arbitration Agreement

In addition to raising evidentiary challenges to Defendant’s
proffered evidence, Plaintiff avers that the parties did not agree to
arbitrate the dispute. First, Plaintiff denies that he signed the
arbitration agreement Second, Plaintiff contends that Defendant has
failed to show that it has sufficient security measures in place to

establish the integrity`of its electronic records pursuant to Texas law.

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i. Whether Plaintiff s denial of having signed the
agreement is sufficient to create a fact issue.

When evaluating whether the parties agreed to arbitrate a
dispute, a court must first determine whether the party challenging the
arbitration agreement has met its “threshold burden” of showing that
“the making of an arbitration agreement” is “in issue.” Chester v.
DirecTV, L.L.C., 607 F. App’x 362, 364 (5th Cir. 2015) (per curiam); 9
U.S.C. § 4. “Although there is a strong federal policy favoring
arbitration, ‘this federal policy favoring arbitration does not apply to the
determination of whether there is a valid agreement to arbitrate
between the parties.”’ Will-Drill Res., Inc. v. Samson Res. Co., 352 F.3d
211, 214 (5th Cir. 2003) (quoting Fleetwood, 280 F.3d at 1073). If the
party challenging the arbitration agreement shows that there is a fact
issue regarding the agreement’s existence, then the burden shifts, and
the party seeking arbitration must establish that a valid contract was
formed pursuant to state contract law. Id.

“A district court must hold a trial on the existence of an
arbitration agreement if a motion to compel arbitration is filed and ‘the

making of the arbitration agreement . . . [is] in issue.”’ Chester, 607 F.

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App’x at 363.4 “To put the making of the arbitration agreement ‘in

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issue, the party seeking to challenge the arbitration agreement must
“‘unequivocal[ly] den[y]’ that he agreed to arbitrate and produce ‘some
evidence’ supporting his position.” Id. at 363-64 (citing T & R Enters.,
Inc. U. Cont’l Grain Co., 613 F.2d 1272, 1278 (5th Cir. 1980)). In
Chester, the plaintiff introduced an affidavit stating, “I do not remember
signing any arbitration agreement, and dispute that I signed an
arbitration agreement with [the defendant] at anytime.”5 Id. at. 364.
The court determined that the plaintiff “unequivocally denied signing

an arbitration agreement” and “provided some evidence that he did not

sign an arbitration agreement_his affidavit.” Id.

 

4 Chester is an unpublished opinion. In the Fifth Circuit, an
unpublished opinion “is not controlling precedent, but may be
persuasive authority.” Bollard u. Burton, 444 F.3d 391, 401 n,7 (5th
Cir. 2006). Nonetheless, since Chester considers the issue at hand, the
Court finds it to be highly persuasive

5 In Chester, the plaintiff also testified, “[h]ad l been offered an
arbitration agreement I would have attempted to continue my
employment Without signing it, and only would have signed it if the
employer threatened to terminate me if it was not signed,” and “[i]f l
was threatened with termination if l did not sign an arbitration
agreement l would remember it. Since l do not remember any such
threat I am sure I did not sign an arbitration agreement.” Id.

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Further, the Fifth Circuit has stated that “[r]efusing to order
arbitration of a dispute where one of the parties claims that it never
signed the agreement, and therefore never agreed to anything, is
consistent with the Supreme Court’s pronouncements that arbitration
‘does not require parties to arbitrate when they have not agreed to do
so.”’ WiZl-Drill, 352 F.3d at 216-17 (quoting EEOC U. Waffle House,
Inc., 534 U.S. 279, 293-94 (2002)). On the other hand, when a plaintiff
testifies that he does not recall signing an agreement but fails to
unequivocally deny having signed one, courts will typically compel
arbitration if the defendant produces physical evidence of an arbitration
agreement, See, e.g., Thick o. Dolgencorp of Texas, Inc., No. 4:16-CV-
00733, 2017 WL 108297, at *2 (E.D. Tex. Jan. 11, 2017) (compelling
arbitration when the plaintiffs only evidence was a statement that she
did not recall having electronically acknowledged or agreed to arbitrate
the dispute).

Here, Plaintiff avers that he was “never presented . . . with a
physical arbitration agreement” and “never signed a physical
arbitration agreement.” Resp. Ex. C. Moreover, Plaintiff states that he

“never saw or viewed an electronic arbitration agreement” and “never

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clicked on an electronic arbitration agreement.” Id. Thus, PlaintiH
unequivocally denies having seen, signed, or clicked on any agreement
Further, he produced some evidence_his affidavit6 Accordingly, the
Court concludes that a fact issue exists regarding the making of the
arbitration agreement

Admittedly, in this case, Defendant has produced significantly
more compelling evidence that an arbitration agreement exists than did
the defendant in Chester. There, the defendant was unable to produce a
signed agreement and argued that the agreement had been misplaced
Chester, 607 F. App’x at 365. Here, Defendant has produced an
admissible record depicting that Plaintiff electronically agreed to the
Dispute Resolution Agreement Ultimately, though, the jury evaluates
the weight and credibility of evidence lt is possible that a jury will be
more inclined to believe a defendant that produces an admissible record

depicting the plaintiffs acknowledgment of an arbitration agreement

 

6 According to Defendant, Plaintiff s “self-serving declaration” is
“insufficient to create a fact issue.” Reply 3. However, Chester
demonstrates that an affidavit denying that the plaintiff signed an
arbitration agreement can be sufficient Because an affidavit
unequivocally denying having signed an agreement is sufficient to
create a fact issue, the Court believes that Plaintiff s affidavit suffices to
show that the making of an agreement to arbitrate is in issue

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than a defendant that does not However, the fact that Defendant has
produced evidence of an agreement does not eliminate the factual
disagreement between the parties. Defendant avers that Plaintiff
electronically acknowledged an arbitration agreement and has a
business record to support its version of the facts. Plaintiff, on the
other hand, testified under oath that he never saw, acknowledged, or
signed any arbitration agreement Thus, a fact issue exists, and the
evidence proffered by each party goes to the weight and credibility of
that party’s version of the facts.

Having determined that a disputed issue of fact exists, the Court
next considers whether the fact issue should be resolved by a jury or by
the Court through an evidentiary hearing Defendant believes that the
Court should conduct an evidentiary hearing rather than a jury trial.
However, the FAA provides:

lf the making of the arbitration agreement or the failure,

neglect or refusal to perform the same be in issue, the court

shall proceed summarily to the trial thereof . . . Where such

an issue is raised, the party alleged to be in default7 may, . .

demand a jury trial of such issue, and upon such demand the
court shall make an order referring the issue or issues to a jury

 

7 The “party alleged to be in default” is the party that is allegedly failing
to arbitrate the dispute See 9 U.S.C. § 4.

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'in the manner provided by the Federal Rules of Civil
Procedure, or may specially call a jury for that purpose

9 U.S.C. § 4. Stated plainly, when the making of an arbitration
agreement is in issue, and a jury has been demanded, the Court must
empanel a jury to consider whether an agreement was made

Here, Plaintiff demanded a jury in his Complaint. See Am. Compl.
6. When a party’s jury demand does not specify the issues to be tried by
a jury, that party “is considered to have demanded a jury trial on all the
issues so triable.” Fed. R. Civ. P. 38(c). Plaintiff did not specify issues
in his jury demand. Am. Compl. 6 (“Plaintiff requests that this case be 7
decided by a jury as allowed by the Federal Rules of Civil Procedure
38.”). Accordingly, the issue of arbitrability appears to be within the
scope of Plaintiffs jury demand.

For the reasons discussed above, the Court is of the opinion that .
Plaintiff is entitled to a jury trial on the narrow issue of whether the

parties agreed to arbitration.S At trial, Defendant has the burden to

 

8 At trial, neither party may refer to or present evidence on issues
outside the scope of arbitrability Evidence or arguments related to the
merits of the case are not relevant to the question of arbitrability

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prove by a preponderance of the evidence that, pursuant to Texas
contract law, Plaintiff and Defendant agreed to arbitrate the dispute

ii. Defendant has sufficiently established that the
electronic record can be attributable to Plaintiff.

The Texas Business and Commercial Code § 322.009(a) provides:

An electronic record or electronic signature is attributable to

a person if it was the act of the person. The act of the person

may be shown in any manner, including a showing of the

efficacy of any security procedure applied to determine the

person to which the electronic record or electronic signature

was attributable

Plaintiff contends that, based on this statute, Defendant has failed
to establish the integrity of its records. Resp. 7.9 As support for its

argument Plaintiff principally relies on Kmart and contends that “a

party may not meet its burden to prove the validity of an electronically

 

9 ln Plaintiffs Response, it is not entirely clear whether Plaintiff is
arguing that Defendant’s security measures undermine the
admissibility of the document as well as the contract’s validity, On this
point, Plaintiff relies on Texas law. See Resp. 7. However, “federal law
governs the admissibility of evidence in diversity cases.” Dixon o. Int’l
Haroester Co., 754 F.2d 57 3, 582 (5th Cir. 1985). Thus, to the extent
that Plaintiff challenges the admissibility of evidence, Plaintiff s
reliance on state law is misplaced Plaintiff does not cite any Federal
Rules of Evidence requiring that parties demonstrate the integrity of
their computer security system for evidence to be admissible
Accordingly, if Plaintiff s argument regards admissibility, the Court
finds it to be unavailing

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acknowledged arbitration agreement when the proffered affidavit
testimony ‘never vouches for the integrity of those records or explains
any security measures [the party] uses to ensure its computer systems

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or software cannot be tampered with. Id. (quoting Kmart Stores of
Texos, LLC, 510 S.W.Sd at 570 n.6.) (emphasis omitted). ln Kmo,rt, the
litigant had not made even a “bare showing” that would allow the court
to infer that any security measures were in place to show that the
electronic act was attributable to the person. Id.

ln this case, Defendant has demonstrated that Defendant has a
system in place to ensure that an electronic signature was made by the
person to whom it is attributed Specifically, Defendant has shown that
employees enter unique employee identification numbers when they
access electronic modules during the onboarding process. The Texas
statute allows broad latitude in establishing the integrity of an
electronic signature See TEX. BUS. & COMM. CODE § 322.009(a)
(providing that “any manner” may be used to show that the electronic

signature belongs to the person to Whom it is attributed). The use of an

electronic identification number is certainly a manner by which the

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integrity of a signature may be established Accordingly, the Court
concludes that Defendant has met the requirements of § 322.009(a).

C. Plaintiff’S Procedural Challenges

Plaintiff raises two procedural challenges to Defendant’s l\/lotion:
(i) that Defendant waived its rights to arbitration by removing the case
to federal court, and (ii) that the FAA mandates that actions be stayed,
rather than dismissed, pending arbitration, ln this section, the Court
addresses each of Plaintiff s arguments and concludes: (i) that Plaintiff
did not waive arbitrability by removing the case, and (ii) that if this
case is submitted to arbitration, then the Court may dismiss the case

i. Defendant did not waive the ability to compel
arbitration bv removing the case to federal court

“The right to arbitrate a dispute, like all contract rights, is subject
to waiver.” Nicholas v. KBR, Inc., 565 F.3d 904, 907 (5th Cir. 2009).
“There is a strong presumption against waiver of arbitration.” Subway
Equip. Leo,sing Corp. o. Forte, 169 F.3d 324, 326 (5th Cir. 1999).
“Although waiver of arbitration is a disfavored finding, ‘[W]aiver will be
found when the party seeking arbitration substantially invokes the
judicial process to the detriment or prejudice of the other party.”’ Id.

(quoting Miller Brewing Co. u. Fort Worth Distrib. Co., 781 F.2d 494,

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496-497 (5th Cir. 1986)). Thus, to show that Defendant waived
arbitration, Plaintiff must show (1) that Defendant invoked the judicial
process and (2) that Plaintiff faced detriment or prejudice as a result

A party may invoke the judicial process “by initially pursuing
litigation of claims then reversing course and attempting to arbitrate
those claims” or by “some overt act in Court that evinces a desire to
resolve the arbitrable dispute through litigation rather than
arbitration.” Id. (citing Gulf Guar. Life Ins. Co. u. Conn. Gen. Life Ins.
Co., 304 F.3d 476, 484 (5th Cir. 2002)). For example, a plaintiff who
filed a lawsuit and pursued her claim for ten months before asserting a
right to arbitrate the dispute waived her right to arbitration, Nicholas
u. KBR, Inc., 565 F.3d 904, 908 (5th Cir. 2009). Additionally, prejudice
“refers to the inherent unfairness in terms of delay, expense, or damage
to a party’s legal position that occurs when the party’s opponent forces
it to litigate an issue and later seeks to arbitrate that same issue.”
Republic Ins. Co. U. PAICO Receiuobles, LLC, 383 F.3d 341, 346 (5th
Cir. 2004) (quoting Subway Eqnip. Leasing Corp. v. Forte, 169 F.3d 324,

327 (5th Cir. 1999)).

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Plaintiff contends that, by removing this case to federal court,
Defendant substantially invoked the judicial process and waived its
right to arbitration, However, Plaintiff has not demonstrated either
prong of the test_that is, Plaintiff has not shown that Defendant
invoked the judicial process or that Plaintiff faces prejudice Removal
alone is not sufficient to establish that a party invoked the judicial
process. See, e.g., Dale u. Citigroup Glob. Markets, Inc., No. CV M-12-
82, 2012 WL 13046848, at *5 (S.D. Tex. June 13, 2012) (“Defendants’
removal-related activities do not demonstrate substantial invocation of
the judicial process.”). Defendant has not pursued claims and then
reversed course in favor of arbitration Nor has Defendant showed any
desire to litigate the merits of this case rather than submitting
Plaintiff s claims to arbitration. Moreover, Plaintiff has not_and, it
appears, cannot-establish prejudice Defendant has not subjected
Plaintiff to expense or delay by seeking to litigate the case’s merits.
Rather, Defendant removed the case and then promptly raised the issue
of arbitrability ln sum, the Court is of the opinion that Defendant did

not waive its ability to compel arbitration.

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ii. When all issues in a case are submitted to arbitration,
a court mav dismiss-rather than stav_the case

According to the Fifth Circuit, § 3 of the FAA “was not intended to
limit dismissal of a case in the proper circumstances The weight of
authority clearly supports dismissal of the case when all of the issues
raised in the district court must be submitted to arbitration.” Alford v.
Dean Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992)
(emphasis omitted). Thus, if all of a plaintiffs claims must be
submitted to arbitration, the district court may stay or dismiss the case
Accordingly, the Court disagrees with Plaintiff s contention that, if
arbitration is ordered, the FAA would mandate that the case be stayed
pending arbitration

Currently, a fact issue exists regarding whether the parties agreed
to arbitrate the dispute Thus, neither a stay nor dismissal is
appropriate until and unless the fact issue is resolved in favor of
arbitration, lf a jury determines that the parties agreed to arbitrate the
dispute, then the Court would have discretion to either stay or dismiss
the case
IV. CONCLUSION

ln conclusion, the Court is of the opinion that it should empanel a

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jury to determine the narrow issue of whether the parties agreed to
arbitrate this dispute Ultimately, if the jury determines that the
parties agreed to arbitrate this dispute, then the Court will compel
arbitration,

Accordingly, lT lS ORDERED that the issue of whether the
parties agreed to arbitrate this dispute shall be submitted to a jury.

IT IS FURTHER ORDERED that a STATUS CONFERENCE
is SET on April 11, 2019, at 9:30 a.m. in Courtroom Nulnber 622, on
the Sixth Floor of the United States Courthouse, 525 l\/lagoffin Avenue,
El Paso, Texas.

lT IS FINALLY ORDERED that both parties bring their trial
calendars to the status conference

SIGNED this 5 day of April, 2019.

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PHILIP R. Ri\ri~aL
UNITED sr Es D TRICT JUDGE

 

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